                                                                              Case 18-12662-leb       Doc 119      Entered 11/07/18 09:56:12         Page 1 of 2



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                                                                         4Entered on Docket
                                                                         November 07, 2018
                                                                       __________________________________________________________________
                                                                         5
                                                                         6   Jason A. Imes, Esq., NV Bar No. 7030
                                                                         7   Schwartzer & McPherson Law Firm
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                                                                         8   Las Vegas NV 89146-5308
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SCHWARTZER & MCPHERSON LAW FIRM




                                                                             Attorneys for Lenard E. Schwartzer, Trustee
                                                                        11
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                        12
                           Tel: (702) 228-7590 · Fax: (702) 892-0122




                                                                                                                  DISTRICT OF NEVADA
                             2850 South Jones Boulevard, Suite 1




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                                Las Vegas, Nevada 89146-5308




                                                                             In re:                                              Case No. BK-S-18-12662-LEB
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                                                                             MEDIZONE INTERNATIONAL, LLC,                        Chapter 7
                                                                        15
                                                                                                                      Debtor. ORDER GRANTING
                                                                        16                                                    APPLICATION FOR COMPENSATION
                                                                        17                                                    FOR WILLIAM M. HOLLAND
                                                                                                                              AS SPECIAL ACCOUNTANT
                                                                        18
                                                                                                                                 Date: November 6, 2018
                                                                        19                                                       Time: 2:30 p.m.

                                                                        20            The Trustee’s Application for Compensation for William M. Holland as Special
                                                                        21   Accountant (the “Application”) [ECF No. 110] having come before this Court on the 6th day of
                                                                        22   November, 2018; Lenard E. Schwartzer (the “Trustee”), Chapter 7 Trustee, appearing by and
                                                                        23   through his counsel, Jason A. Imes., Esq., of the Schwartzer & McPherson Law Firm; the Court
                                                                        24   finding that notice has been given to all creditors and parties in interest as required by law and that
                                                                        25   no parties appeared or filed written opposition; the Court finding the requested fees and costs are
                                                                        26   reasonable and appropriate, and for good cause appearing,
                                                                        27   ///
                                                                        28   ///

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                                                                        1             IT IS HEREBY ORDERED that the Application is GRANTED; and
                                                                        2             IT IS FURTHER ORDERED that the Trustee is authorized to pay William M. Holland
                                                                        3   compensation as the Trustee’s special accountant in the amount of $2,668.75 for fees, and
                                                                        4   reimburse costs in the amount of $4.09, for a total of $2,672.84, for the period from June 1, 2018
                                                                        5   through September 26, 2018, as an allowed Chapter 7 administrative expense of this bankruptcy
                                                                        6   estate.
                                                                        7   Submitted by:
                                                                        8
                                                                        9    /s/ Jason A. Imes
                                                                            Jason A. Imes, Esq.
                                                                       10
                                                                            SCHWARTZER & MCPHERSON LAW FIRM
SCHWARTZER & MCPHERSON LAW FIRM




                                                                       11   2850 South Jones Blvd., Suite 1
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                           Tel: (702) 228-7590 · Fax: (702) 892-0122
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                                Las Vegas, Nevada 89146-5308




                                                                       14
                                                                       15                                        LR 9021 CERTIFICATION

                                                                       16   In accordance with LR 9021, counsel submitting this document certifies that the order accurately
                                                                            reflects the court’s ruling and that (check one):
                                                                       17
                                                                       18                    The court waived the requirement of approval under LR 9021(b)(1).

                                                                       19                    No party appeared at the hearing or filed an objection to the motion.

                                                                       20                     I have delivered a copy of this proposed order to all counsel who appeared
                                                                                      at the hearing, and any unrepresented parties who appeared at the hearing, and each
                                                                       21
                                                                                      has approved or disapproved the order, or failed to respond, as indicated above.
                                                                       22
                                                                                              I certify that this is a case under Chapter 7 or 13, that I have served a copy
                                                                       23             of this order with the motion pursuant to LR 9014(g), and that no party has
                                                                                      objection to the form or content of the order.
                                                                       24
                                                                       25
                                                                       26   /s/ Jason A. Imes
                                                                            Jason A. Imes, Esq.
                                                                       27   Schwartzer & McPherson Law Firm
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